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Stephanie D. Curtis (SBN 05286800)
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COUNSEL FOR DEBTOR
RICHARD KEVIN RUSSELL

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

IN RE:                                                 §
                                                       §
RICHARD KEVIN RUSSELL 1,                               §       Case No. 22-41793-mxm11
                                                       §
          Debtor.                                      §
                                                       §
                                                       §
INDEPENDENCE FUEL SYSTEMS, LLC                         §
                                                       §
          Plaintiff,                                   §
                                                       §
          v.                                           §       Adversary No. 22-04049-mxm
                                                       §
RICHARD KEVIN RUSSELL,                                 §
                                                       §
          Defendant.                                   §

                CURTIS | LAW PC’S UNOPPOSED MOTION TO WITHDRAW
                AS COUNSEL FOR DEFENDANT RICHARD KEVIN RUSSELL

TO THE HONORABLE MARK X. MULLIN,
UNITED STATES BANKRUPTCY JUDGE:

          COMES NOW, Curtis | Law PC and its attorneys (together, “CLPC” or “the Firm”),
withdrawing counsel for Richard Kevin Russell ("Russell" or “Debtor” or "Defendant"), to
respectfully file this Unopposed Motion to Withdraw as Counsel for Defendant Richard Kevin
Russell (the “Motion”) and show the Court as follows:
          1.      CLPC respectfully seeks to withdraw as counsel for Russell before this Court, and

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    Richard Kevin Russell, Address: 4767 Overton Woods Drive, Fort Worth, Texas 76109, SSN: XXX-XX-7228.


MOTION TO WITHDRAW AS COUNSEL                                                                     PAGE 1 OF 3
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to be discharged by this Court from representing Russell in this proceeding and any and all
appellate matters related to this proceeding.
        2.      Good cause exists for CLPC’s withdrawal because of Russell’s breach of the
financial terms of his engagement with the Firm.
        3.      This matter is set for trial docket call on October 26, 2023 at 9:00 am.
        4.      Mr. Russell has consented to this withdrawal and is aware of all deadlines in this
adversary proceeding. Mr. Russell has received a copy of this Motion. Counsel will send Mr.
Russell a copy of the signed order, as well as a letter stating any settings for trial, hearings, or
discovery deadlines, and advising him to secure other counsel. Mr. Russell’s consent to
withdrawal, which includes disclosure of all upcoming deadlines, is attached hereto as Exhibit 1.
        5.      This Motion to Withdraw is filed in good faith and is not filed for purposes of delay.
        WHEREFORE, PREMISES CONSIDERED, the Firm respectfully requests that the Court
grant this Motion to Withdraw, allow the Firm and its attorneys to withdraw as counsel for
Defendant Richard Kevin Russell in this case, and grant the Firm such other relief, both special
and general, at law or equity, to which it may otherwise be entitled.
Dated: October 11, 2023.                           Respectfully submitted,

                                                   /s/ Christopher L. Harbin
                                                   Stephanie D. Curtis
                                                   Texas State Bar No. 05286800
                                                   Christopher L. Harbin
                                                   Texas State Bar No. 24083124
                                                   Ivan O. Turingan
                                                   Texas State Bar No. 24026294
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                                                   WITHDRAWING COUNSEL FOR
                                                   DEFENDANT RICHARD KEVIN
                                                   RUSSELL




UNOPPOSED MOTION TO WITHDRAW AS COUNSEL                                                      PAGE 2 OF 3
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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on October 11, 2023, a true and correct copy of the
foregoing document was electronically filed and served upon all parties who receive ECF service
in this adversary case.

                                                 /s/ Christopher L. Harbin
                                                 Christopher L. Harbin

                                CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that he has made reasonable efforts to resolve the issues
related to this Motion with attorneys for Independence Fuel Systems, LLC, and they have indicated
that they are unopposed to the relief requested in this Motion.

                                                 /s/ Christopher L. Harbin
                                                 Christopher L. Harbin




UNOPPOSED MOTION TO WITHDRAW AS COUNSEL                                                  PAGE 3 OF 3
